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                       UNITED STATES DISTRICT COURT
                   IN THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

TONYA BOWLES, for herself and all
those similarly situated,

      Plaintiff,                          Case No. 23-10973

v.                                        Honorable Linda V. Parker

COUNTY OF WAYNE by its BOARD Magistrate Judge Kimberly G. Altman
OF COMMISSIONERS also
sometimes known as CHARTER
COUNTY OF WAYNE by its BOARD
OF COMMISSIONERS; ERIC R.
SABREE, in his official capacity,

      Defendants.


     STIPULATED PROTECTIVE ORDER REGARDING RESTRICTED
       DOCUMENTS PRODUCED FOR PURPOSES OF MEDIATION
      The parties wish to enter into a protective order to facilitate the production

of certain information that they believe will be useful for both sides to have during

their preparation and participation in the upcoming mediation. Specifically,

Defendants have prepared electronic records solely for the purpose of this litigation

and for use in the mediation. The records also contain personal and sensitive

information concerning Wayne County taxpayers, which Defendants wish to

respect and protect as it is personal to the taxpayers whose information is listed in

the documents.
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      Plaintiffs’ Counsel – Interim Lead Class Counsel in Bowles and their co-

counsel appearing in the consolidated cases (Mark Wasvary, Matthew Gronda,

Philip Ellison, Donovan Visser and Donald Visser, together “Other Plaintiffs’

Counsel”) – seek access to certain data in order to prepare for and participate in the

parties’ upcoming mediation. The data is contained in the above-mentioned

records.

      Interim Lead Class Counsel and Defendants now stipulate and agree to this

protective order, which shall govern the documents and data produced in

connection with the mediation in this case.

      To that end, Interim Lead Class Counsel and Defendants stipulate and agree

to the following:

      IT IS HEREBY ORDERED that:

      1.     Defendants shall designate those documents that it considers to be

subject to this Protective Order by stamping the documents as “Confidential –

Restricted to Interim Lead Class Counsel Only.”

      2.     All documents stamped as “Confidential – Restricted to Interim Lead

Class Counsel Only,” and all copies thereof shall be subject to the terms of this

Protective Order. Documents so marked are collectively referred to as the

“Restricted Documents.”

      3.     The Restricted Documents, produced by Defendants to Interim Lead



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Class Counsel (David Shea, Aaron Cox, and Jason Thompson)1, and their legal

staff, are not used for any purpose unrelated to the mediation of this lawsuit.

         4.    The Restricted Documents shall be retained by Interim Lead Class

Counsel and may be disclosed only by and between their offices, excepting

Cynthia Stephens, who is serving as mediator, and to those on her staff.

         5.    However, Interim Lead Class Counsel may disclose to a Party

Plaintiff only information in Restricted Documents directly concerning the

property or the foreclosure sale relating to that Party Plaintiff.

         6.    Interim Lead Class Counsel shall hold the Restricted Documents in

confidence, keep them in a secure location, and ensure that no one other than those

permitted by Paragraphs 3 and 4 above has access to them.

         7.    Notwithstanding the above restrictions, Other Plaintiffs’ Counsel shall

have, through Interim Lead Class Counsel only, full access to the data in

Restricted Documents, such as total number of properties and any related financial

data.

         8.    Restricted Documents may be exempted from the terms of this Order

by stipulation of counsel for all parties or further order of this Court. Furthermore,

no party is waiving its right to seek unrestricted access, or further protections, as to

Restricted Documents simply based upon stipulation to this Order.

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    See ECF No. 5, Order Appointing Interim Class Counsel in Consolidated Matters.


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      9.     Within 30 days after completion of mediation, counsel for Defendants

may make a written request to Interim Lead Class Counsel directing that all

Restricted Documents, all copies thereof, and all indices, transcriptions, listings,

and summaries thereof be returned to Defendants’ counsel within 30 days. Within

that 30-day period, and after the return or destruction of Restricted Documents and

information pursuant to this paragraph, Interim Lead Class Counsel shall provide

written confirmation that all Restricted Documents and information have been

returned or destroyed.

      10.    Notwithstanding Paragraph 9, Interim Lead Class Counsel are not

required to destroy work product, legal memoranda, or expert opinion letters that

may contain references to or information summarized from the Restricted

Documents, and all such memos and correspondence may be retained in Interim

Lead Class Counsels’ files. However, the confidentiality of the information

contained therein is to be protected in accordance with the terms of this Order.

      11.    The terms of this Order shall remain in full force and effect until

Interim Lead Class Counsel have complied with their obligations under Paragraph

9, or as may be extended by joint agreement of the parties, or by order of this Court




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upon motion of a party.

      SO ORDERED.

                                         s/ Linda V. Parker
                                         LINDA V. PARKER
                                         U.S. DISTRICT JUDGE
 Dated: July 26, 2023



SO STIPULATED:

/s/ Jason J. Thompson                    /s/ Nasseem S. Ramin
Jason J. Thompson (P47184)               Nasseem S. Ramin (P73513)
Interim Lead Class Counsel               Counsel for Defendants




Dated: July 25, 2023




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